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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No.

   UNITED STATES OF AMERICA,

                          Plaintiff,

   v.

   18,753 COMIC BOOKS,
   1998 BMW 740IL VIN WBAGJ8320WDM08536,
   2000 AUDI A8 VIN WAUFL54D1YND002010,
   2001 FORD MUSTANG VIN 1FAFP42X61F104391,
   1998 MERCEDES-BENZ S500 VIN WDBGA51G5WA385027,
   1998 LEXUS GS300 VIN JT8BD68S8W0032384,
   $747.00 UNITED STATES CURRENCY,
   $850.00 UNITED STATES CURRENCY,
   $953.00 UNITED STATES CURRENCY, and
   $545.00 UNITED STATES CURRENCY,

                     Defendants.
   ______________________________________________________________________________

                                   ORDER FOR WARRANT FOR
                                  ARREST OF PROPERTY IN REM


          Plaintiff has instituted the in rem action herein and requested issuance of process. It appears

   to the Court from the Verified Complaint filed herein that the Court has jurisdiction over the

   defendant properties, and it appears, for the reasons and causes set forth in the Verified Complaint,

   that there is probable cause to believe the defendant properties are subject to a decree of forfeiture,

   and that a Warrant for Arrest of the defendant properties should enter.

          IT IS THEREFORE ORDERED AND DECREED that a Warrant for Arrest of Property In

   Rem for the defendant properties shall issue as prayed for and that the Internal Revenue Service,

   Criminal Investigation and/or any other duly authorized law enforcement officer is directed to arrest
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   and seize the defendant properties as soon as practicable, and to use whatever means may be

   appropriate to protect and maintain it in your custody until further order of this Court;

          THAT the Internal Revenue Service, Criminal Investigation and/or any other duly authorized

   law enforcement officer shall promptly return the Warrant to the Court; and

          THAT pursuant to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime

   Claims and Asset Forfeiture Actions, the United States shall post notice on an official internet

   government site for at least 30 consecutive days, stating that all persons claiming or asserting an

   interest in the defendant properties must file their Claims with the Clerk of this Court pursuant to

   Rule G of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions

   no later than 60 days after the first day of publication on an official internet government forfeiture

   site, and shall serve and file their Answers to the Verified Complaint within twenty-one (21) days

   after the filing of their Claims with the Office of the Clerk, United States District Court for the

   District of Colorado, with a copy sent to Assistant United States Attorney Martha A. Paluch, United

   States Attorney's Office, 1225 17th Street, Suite 700, Denver, Colorado.

          DONE at Denver, Colorado, this            day of ___________________, 2011.

                                                  BY THE COURT:


                                                  ___________________________________
                                                  UNITED STATES MAGISTRATE JUDGE




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